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April 19, 2024
Via Courier Service
U.S. District Judge Aileen M. Cannon
Alto Lee Adams, Sr. United States Courthouse
101 South U.S. Highway 1, Room 1016
Ft. Pierce, FL 34950

Re: — United States of America v. Donald J. Trump, et al.,
Case No.: 9:23-CR-80101-AMC (S.D. Fla.)
Motion to Appear Pro Hac Vice, Consent to Designation, and Request to
Electronically Receive Notices of Electronic Filing of Joshua Blackman

To Whom It May Concern:

This law firm represents Professor Seth Barrett Tillman and Landmark Legal Foundation
with respect to its motion for leave to file a brief as amici curiae in the case styled, United States
of America v. Donald J, Trump, et al., Case No.: 9:23-CR-80101-AMC. Co-counsel for Landmark
Legal Foundation, Joshua Blackman, Esquire, seeks admission pro hac vice to the Litigation.

Enclosed for the Court’s review are the following documents, in hard copy as well as
electronically saved to a USB drive: .

1. Motion to Appear Pro Hac Vice, Consent to Designation, and Request to
Electronically Receive Notices of Electronic Filing of Joshua Blackman, dated
April 19, 2024.

2. Certification of Joshua Blackman
3. Proposed Order granting Motion to Appear Pro Hac Vice, Consent to Designation,
and Request to Electronically Receive Notices of Electronic Filing of Joshua

Blackman.

4. A $200.00 Check.
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Respectfully submitted,

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Mihadt . Sasso

Enclosures as stated..
cc: All Counsel of Record (via E-Mail)
